                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


FAYE R. HOBSON,                                  )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )       Case No. 3:16-cv-0774
                                                 )       Judge Aleta A. Trauger
RETIRED GENERAL JAMES MATTIS,                    )
Secretary, Department of Defense,                )
                                                 )
       Defendant.                                )
                                                 )


                                       MEMORANDUM

       Before the court are the plaintiff’s Written Objections (Doc. No. 25) to the magistrate

judge’s December 19, 2016 Order purporting to grant the defendant’s Motion to Dismiss

Improper Parties (Doc. No. 21). For the reasons discussed herein, the court construes the

magistrate judge’s Order as a Report and Recommendation (“R&R”). The court will overrule the

plaintiff’s Objections, accept the R&R, and grant the motion to dismiss the individual defendants

named in this action.

I.     Standard of Review

       The Federal Magistrates Act of 1968 authorizes the district courts to “designate a

magistrate judge to hear and determine any pretrial matter pending before the court,” except for

those matters deemed “dispositive.” 28 U.S.C. § 636(b)(1)(A). A magistrate judge may be

designated to hear and consider dispositive motions, but, with respect to such motions, the

magistrate judge must submit to the district court proposed findings of fact and recommendations

for the disposition of the motion by the district judge. 28 U.S.C. § 636(b)(1)(B).




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        The initial matter presented here is whether the Motion to Dismiss Improper Parties, filed

under Rule 12(b)(1), is a dispositive or non-dispositive motion. Generally, pretrial matters that a

magistrate judge is precluded from “determining” pursuant to § 636(b)(1)(A) are called

“dispositive” because they are “dispositive of a claim or defense of a party.” Fed. R. Civ. P. 72.

The Sixth Circuit applies a “functional analysis of the motion’s potential effect on litigation” to

determine whether a particular motion is dispositive. Vogel v. U.S. Office Prods. Co., 258 F.3d

509, 514–15 (6th Cir. 2001). “The list of dispositive motions contained in § 636(b)(1)(A) is

nonexhaustive, and unlisted motions that are functionally equivalent to those listed in §

636(b)(1)(A) are also dispositive.” Id. at 515.

        The motion in this case, styled as a Rule 12(b)(1) motion to dismiss for lack of subject-

matter jurisdiction, is a dispositive motion, because it is potentially dispositive of the plaintiff’s

claims against the defendants seeking dismissal. Accordingly, the court construes the magistrate

judge’s Order as a Report and Recommendation.

        When an objection is lodged against a magistrate judge’s report and recommendation on

a dispositive matter, the district court applies a de novo standard of review. In conducting this

review, courts reexamine the relevant evidence previously reviewed by the magistrate judge to

determine whether the recommendation should be “accept[ed], reject[ed], or modif[ied], in

whole or in part[.]” 28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b)(3).

II.     The Complaint

        According to the allegations in the Complaint, the plaintiff resides in Montgomery

County, Tennessee. She is employed as a teacher by the United States Department of Defense

Education Activity (“DoDEA”) in a U.S. overseas school operated on Camp Humphreys Army

Base in South Korea. In October 2014, she requested leave without pay under the Family and




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Medical Leave Act, 29 U.S.C.A. § 2601 et seq. (“FMLA”), due to personal medical problems.

She was initially denied the requested leave. She believes that the denial of FMLA leave was in

retaliation for her having previously filed discrimination complaints against the agency. (Compl.

¶ 9.) She also alleges that she was denied FMLA leave “because of Agency employees’ belief

that Plaintiff is using her medical condition to seek employment at Fort Campbell Schools.”

(Compl. ¶ 12.) She concedes that, eventually, “DoDEA Korea District Superintendent Dr. Judith

J. Allen granted leave without pay for the requested time.” (Compl. ¶ 26.) The plaintiff

complains, however, that the leave was not classified as FMLA leave, as a result of which she

suffered a loss in benefits and entitlements. (Id.)

       Based on these and other allegations, the plaintiff filed her Complaint initiating this

action, naming as defendants the Secretary of the Department of Defense in his official capacity,

as well as six individual identified as DoDEA employees, including Steven Won, Jennifer Kehe,

Susan (Shelly) Kennedy, Dr. Judith Allen, Thomas Brady, and Linda Curtis. The Complaint

purports to assert claims under Title VII of the Civil Rights Act, 42 U.S.C. § 2000e et seq.

(“Title VII”) (Compl. Count One, ¶¶ 23–30) and the Americans With Disabilities Act, 42 U.S.C.

§ 12101 et seq. (“ADA”) (Compl. Count Two, ¶¶ 31–35).

       The Complaint also includes language indicating that the plaintiff intends to bring claims

under the FMLA against defendants Steven Won, Jennifer Kehe, Susan (Shelly) Kennedy, Dr.

Judith J. Allen, Thomas Brady, and Linda Curtis. (Compl. ¶¶ 36a–36f.) Other than the reference

to Dr. Allen in paragraph 26, however, the plaintiff does not incorporate into the Complaint any

factual allegations concerning these defendants; she simply identifies their roles within the

DoDEA and provides their service addresses. (Compl. ¶ 3.) She also filed with the court an Index

Complaint of FMLA Denial’s and Documentation [sic] (Doc. No. 16), which appears to be




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intended to supplement the Complaint. Attached to this Index is a copy of all the documents the

plaintiff sent to the Department of Labor in connection with her administrative complaint

concerning the denial of her initial request for FMLA leave—approximately 350 pages of

exhibits. This documentation indicates that defendants Shelly Kennedy, as school principal,

along with Dr. Allen, as District Superintendent, and Steven Won, Supervisory Human

Resources Specialist, were responsible, at different levels, for reviewing and either granting or

denying the plaintiff’s requests for medical leave. Jennifer Kehe, a Labor and Employee

Relations Specialist in the DoDEA Pacific Human Resources Division, communicated some of

these decisions to the plaintiff. (See Doc. No. 16-4.)

         The Complaint also states that it is brought under 42 U.S.C. § 1981, and it references the

Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) (Compl. ¶¶ 3, 5), but it does not

state the basis for relief under either statute.

III.     The Motion and the Magistrate’s Recommendation

         In their Motion to Dismiss Improper Parties and supporting Memorandum, the defendants

argue that the claims against the six individual defendants—Won, Kehe, Kennedy, Allen, Brady,

and Curtis—must be dismissed, because the only proper defendant in a federal employment

discrimination lawsuit under Title VII or the ADA is the head of the agency that employs or

employed the plaintiff. (Doc. No. 22, at 2.)

         In addressing the motion, the magistrate judge noted in passing that the plaintiff had not

responded to the motion, but his recommendation that the motion be granted was not based on

the plaintiff’s failure to respond. Rather, he properly noted that Title VII and ADA claims may

not be brought against individual supervisors. See Wathen v. Gen. Elec. Co., 115 F.3d 400, 405

(6th Cir. 1997) (“[A]n individual employee/supervisor, who does not otherwise qualify as an




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‘employer,’ may not be held personally liable under Title VII.”); Sullivan v. River Valley Sch.

Dist., 197 F.3d 804, 808 n.1 (6th Cir. 1999) (“Individual supervisors who do not independently

qualify under the statutory definition of employers may not be held personally liable in ADA

cases.”). On that basis, he recommended dismissal of the claims against the individual

defendants. (Doc. No. 23.)

IV.     The Plaintiff’s Objections

        In her Objections, the plaintiff argues, first, that the defendants failed to insure that she

was properly served with a copy of their Motion to Dismiss Improper Parties. She protests

strenuously that she never received a copy of the motion and insists that she would never have

delayed in responding to the motion if she had been properly served. She also argues that,

because the motion was not properly served upon her, it must be denied.

        The plaintiff also characterizes her Complaint as stating claims under 42 U.S.C. § 1981,

the FMLA, and the FLSA, in addition to the claims under Title VII and the ADA. She appears to

argue that the defendants’ motion should be denied on the basis that claims under § 1981, the

FMLA, and the FLSA may be brought against individual supervisors. Further, she asserts that

“nothing in 42 U.S.C. § 2000e-16(c) states the agency or officials are exempt from liabilities”

and, therefore, that the court “has jurisdiction over the six individual Defendant’s [sic].” (Doc.

No. 25, at 10.)

V.      Discussion

        A.        Defendants’ Alleged Failure to Serve Documents upon the Plaintiff

        The plaintiff asserts that she did not receive the defendants’ motion, and she included a

statement in an affidavit submitted to the court that the defendants are not forwarding their

motions to her. (Doc. No. 30, at 2–3.) For their part, the defendants’ attorneys have included a




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Certificate of Service on each document filed in this court, documenting that they have served

the documents upon the plaintiff at the mailing address she provided. For purposes of the

defendants’ motion and the plaintiff’s response, the court accepts as true both that the defendants

have served their filings on the plaintiff and that the plaintiff, for whatever reason, has not been

receiving the documents in a timely fashion. Although the plaintiff apparently did not have the

opportunity to respond initially to the defendants’ Motion to Dismiss Improper Parties, she has

done so now, and the court will consider the motion de novo, on its merits, as previously

indicated.

       B.      Title VII and the ADA

       Section 2000e-16 extended the protection of Title VII to federal employees. Chandler v.

Roudebush, 425 U.S. 840, 841 (1976). The only appropriate defendant in a Title VII action

brought by a federal employee is the head of the department or agency in his or her official

capacity. See, e.g., McDermott v. Pritzker, 651 F. App’x 590, 592 (9th Cir. 2016); Jarrell v. U.S.

Postal Serv., 753 F.2d 1088, 1091 (D.C. Cir. 1985). Dismissal of any Title VII claims against the

individual defendants is therefore warranted.

       Likewise, there is no individual liability under the ADA. Sullivan v. River Valley Sch.

Dist., 197 F.3d 804, 808 (6th Cir. 1999). The plaintiff therefore cannot maintain her ADA claims

against the individual defendants, and such claims must be dismissed.

       C.      FMLA

       The plaintiff also appears to oppose the defendants’ motion on the basis that she has

asserted claims under the FMLA. While there is a split of authority on the topic, see Ainsworth v.

Loudon Cnty. Sch. Bd., 851 F. Supp. 2d 963, 972 (E.D. Va. 2012) (collecting cases), the Sixth

Circuit has expressly held that the FMLA precludes individual liability claims asserted against




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federal agency supervisors. Mitchell v. Chapman, 343 F.3d 811, 814 (6th Cir. 2003); see also

Crugher v. Prelesnik, 761 F.3d 610, 615 (6th Cir. 2014) (continuing to recognize that Mitchell

precludes FMLA claims against government employees in their individual capacities). Dismissal

of the FMLA claims against the individual defendants is also required.

        D.     FLSA

        The FLSA is vaguely referenced in the Complaint and in the plaintiff’s Response to the

defendants’ motion. The FLSA requires employers to pay covered employees a minimum wage

and overtime compensation. Baden–Winterwood v. Life Time Fitness, Inc., 566 F.3d 618, 626

(6th Cir. 2009); 29 U.S.C. §§ 206, 207. Because the factual allegations in the Complaint do not,

even remotely, support an FLSA claim, the court does not construe the Complaint as stating or

attempting to state such a claim.

        E.     Section 1981 Claims

        Insofar as the plaintiff may be attempting also to state a race discrimination claim under

42 U.S.C. § 1981, it has long been recognized that Title VII provides the sole remedy for racial

discrimination claims asserted by federal employees. See Brown v. General Servs. Admin., 425

U.S. 820, 835 (1976). Consequently, constitutional claims asserting race discrimination are

preempted by Title VII. See id. (rejecting a § 1981 claim of racial discrimination brought by a

federal employee). To the extent the plaintiff seeks to bring § 1981 claims against the individual

employees, those claims are also subject to dismissal.

VI.     Conclusion

        For the reasons set forth herein, the court finds the plaintiff’s Objections to be without

merit. The R&R will be accepted, as modified herein, and the defendants’ Motion to Dismiss

Improper Parties will be granted. All claims against the individual defendants will be dismissed.




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  An appropriate Order is filed herewith.




                                            ALETA A. TRAUGER
                                            United States District Judge




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